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                                                                            2015 Jun-30 PM 04:12
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          MIDDLE DIVISION

RANDY CAMPBELL,                   )
                                  )
                       Plaintiff, )
                                  )        CIVIL ACTION
v.                                )
                                  )        NO. ___________________
PNC BANK, N.A., MORTGAGE          )
ELECTRONIC REGISTRATION           )
SYSTEMS, INC., HOME LOAN          )
CENTER, INC., LENDING TREE        )
LOANS,                            )
                                  )
                     Defendants. )
                                  )

                          NOTICE OF REMOVAL

      In accordance with 28 U.S.C. §§1441 and 1446, you are hereby notified that

Defendants PNC Bank, N.A. ("PNC") and Mortgage Electronic Registration

Systems, INC. ("MERS"), are removing this civil action from the Circuit Court of

Etowah County, State of Alabama, to the United States District Court for the

Northern District of Alabama, Middle Division, and in support thereof show this

Court the following:
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                                 BACKGROUND

     1.      Plaintiff filed a Complaint against PNC on May 28, 2015, in the

Circuit Court of Etowah County, State of Alabama, Case No. 31-CV-2015-

900422.00, and styled "Randy Campbell v. PNC Bank, N.A., Mortgage Electronic

Registration Systems, Inc., Home Loan Center, Inc., Lending Tree Loans". True

and correct copies of all process, pleadings and orders received by PNC in said

civil action are attached hereto as Exhibit A.

     2.      PNC and MERS were served with summons and a copy of the

Complaint on June 1, 2015. Thus, this Notice of Removal is filed within 30 days

after receipt by PNC and MERS, through service or otherwise, of the Complaint

setting forth the claim for relief upon which this action is based, and, therefore, it

is timely within the provisions of 28 U.S.C. §1446(b).

     3.      Defendant Home Loan Center, Inc. ("HLC") does business as

"Lending Tree Loans."

     4.      HLC also was served on June 1, 2015.

     5.      HLC consents to removal. See Consent to Removal attached hereto

as Exhibit B.



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                          GROUNDS FOR REMOVAL

     6.      Under 28 U.S.C. § 1331, United States District Courts are vested with

jurisdiction to consider cases or controversies “arising under” the laws of the

United States of America. See 28 U.S.C. § 1331.

     7.      Removal of such cases is governed by 28 U.S.C. § 1441(b). Section

1441(b) makes clear that a case brought in state court, raising a federal question,

“shall be removable” to the United States District Courts “without regard to the

citizenship or residence of the parties.” See 28 U.S.C. § 1441(b) (emphasis

added).

     8.      Here, Plaintiff claims that PNC and MERS allegedly violated (i) the

"Truth in Lending Act" (Compl. at ¶¶ 80-89); (ii) the "Real Estate Settlement

Procedures Act" (Id. at ¶ 91-92); (iii) the "Fair Credit Reporting Act" (Id. at ¶¶

94-104); and the "Federal Fair Debt Collections Practices Act" (Id. at ¶¶106-107).

     9.      Plaintiff's Complaint alleges violations of federal statutes, and

consequently "arises under" the laws of the United States and this Court has

federal question jurisdiction. See 28 U.S.C. § 1331.




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                                 CONCLUSION

      10.    This Court has subject-matter jurisdiction over the Plaintiff’s claims

pursuant to 28 U.S.C. § 1331.

      11.    Removal of this action is proper under 28 U.S.C. § 1446 because:

                   (a)    this Notice of Removal is being filed within thirty (30)
                          days of the PNC's receipt (through service or otherwise)
                          of the Complaint;

                   (b)    this Notice of Removal is being filed within one (1) year
                          of the date of commencement of the action for removal
                          purposes; and

                   (c)    Defendants have not previously sought similar relief.

      12.    Venue for removal of this action to this Court is proper because it is

the district court of the United States for the district and division in which the

state civil action being removed is pending within the meaning of 28 U.S.C. §

1441 and § 1446(a).

      13.    A copy of the Notice of Removal will be contemporaneously filed

with the Circuit Court of Etowah County. A copy of this filing with the State

Court without exhibits is attached hereto as Exhibit C.

             WHEREFORE, Defendants PNC and MERS respectfully request that

the entire action referred to hereinabove proceed in the United States District

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Court for the Northern District of Alabama, Middle Division, and that no further

proceeding be held in said case in the Circuit Court of Etowah County.

      This 30th day of June, 2015.

                                      /s/ Gregory M. Taube
                                      Gregory M. Taube
                                      Alabama Bar No. ASB-4499-A41G

                                      Attorney for Defendants
                                      PNC Bank, N.A. and
                                      Mortgage Electronic Registration Systems

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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day served the within and foregoing

NOTICE OF REMOVAL by depositing a copy of same in the United States Mail in

a properly addressed envelope with sufficient postage affixed thereto to ensure

delivery to the following:


Kenneth James Lay                          Michael R. Lunsford
HOOD & LAY, LLC                            Michael M. Cooper
1117 22nd Street South                     PORTERFIELD, HARPER, MILLS
Birmingham, AL 35205                       MOTLOW & IRELAND, P.A.
                                           22 Inverness Center Parkway, Suite 600
                                           Birmingham, AL 35242

      This 30th day of June, 2015.

                                     /s/ Gregory M. Taube
                                     Gregory M. Taube
                                     Alabama Bar No. ASB-4499-A41G

                                     Attorney for Defendants
                                     PNC Bank, N.A. and
                                     Mortgage Electronic Registration Systems

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